In this case appellants, parents of the employee, Francis M. Nixon, deceased, sought compensation for his death alleged to have been due to silicosis contracted while in the employ of respondent. Except that herein the auditor applied for the $1,000 under sec. 43-1101, I. C. A., which claim he later abandoned, and that in this case the employee died from silicosis, the facts are substantially the same as in Brown v.St. Joseph Lead Co., ante, p. 49, 87 P.2d 1000, No. 6557, this day decided, and the decision and law therein announced determines this case. The order of the board denying compensation is therefore reversed and remanded for further proceedings awarding compensation to the extent the parents of deceased were shown to be dependent on deceased.
Costs to appellants.
Holden, C.J., and Ailshie and Budge, JJ., concur.
Morgan, J., deeming himself to be disqualified, did not sit with the court at the hearing nor participate in the opinion.
                          ON REHEARING.                        (March 9, 1939.)